                              Case 14-50333-gs      Doc 498      Entered 06/21/19 13:13:31       Page 1 of 3



                          1    Jeffrey L. Hartman, Esq., #1607
                               HARTMAN & HARTMAN
                          2    510 West Plumb Lane, Suite B
                               Reno, Nevada 89509
                          3    Telephone: (775) 324-2800
                               Fax: (775) 324-1818
                          4    notices@bankruptcyreno.com
                          5    Attorney for Jeri Coppa-Knudson, Trustee
                          6                           UNITED STATES BANKRUPTCY COURT
                          7                                      DISTRICT OF NEVADA
                          8
                          9    IN RE:                                        CASE NO.      BK-N-14-50333-gs
                        10     ANTHONY THOMAS and                            CASE NO.      BK-N-14-50331-gs
                               WENDI THOMAS,
                        11                                                   (Jointly Administered)
                               AT EMERALD, LLC,                              CHAPTER 7
                        12
                                              Debtors.                       NOTICE OF CONTINUED HEARING ON
                        13                                                   MOTION FOR ORDER CONFIRMING
                                                                             SALE BY AUCTION; REQUEST FOR
                        14                                                   APPROVAL OF PAYMENT OF
                                                                             COMMISSION TO STREMMEL
                        15                                                   AUCTIONS
                        16                                                   OPPORTUNITY TO OVERBID
                        17                                                   Hearing Date:     July 19, 2019
                                                                             Hearing Time:     1:00 p.m.
                        18                                               /
                        19              NOTICE IS HEREBY GIVEN that on June 4, 2019 the Honorable Judge Gary
                        20     Spraker conducted a status hearing on the Trustee’s Motion For Order Confirming Sale By
                        21     Auction; Request For Approval Of Payment Of Commission To Stremmel Auctions (“Sale
                        22     Motion”), filed on November 29, 2018 as DE 430. As a result of that hearing, Judge
                        23     Spraker issued a Scheduling Order regarding the Sale Motion. DE 495. The continued
                        24     Sale Motion hearing on July 19, 2019 will be an evidentiary hearing.
                        25              NOTICE IS FURTHER GIVEN that the Sale Motion requests approval of the sale
                        26     of the Thomas Emerald, a 21,000 carat emerald matrix. More information on the Thomas
                        27     Emerald can be found at www.stremmelauctions.com. The Trustee will request that the
                        28     Court approve a sale to the highest bidder with certified funds. The existing bid for the
    Hartman & Hartman
510 West Plumb Lane, Ste. B
   Reno, Nevada 89509
      (775) 324-2800
                              Case 14-50333-gs        Doc 498   Entered 06/21/19 13:13:31        Page 2 of 3



                          1    Thomas Emerald is $21,500 offered by Ken Tersini, assignee of the initial bid by Jennifer
                          2    Jodoin. Purchasers interested in bidding on the Thomas Emerald must have certified funds
                          3    and incremental bids will be set at $2,500.
                          4           NOTICE IS FURTHER GIVEN that the Trustee requests approval of a
                          5    commission to Stremmel Auctions, Inc. in the amount of $3,225 and reimbursement of costs
                          6    incurred by Stremmel Auctions in the amount of $1,231. A Buyers premium of 10% will be
                          7    charged to any successful overbidder.
                          8           NOTICE IS FURTHER GIVEN that a hearing on the Sale Motion has been
                          9    scheduled before a United States Bankruptcy Judge, in the Clifton Young Federal Building,
                        10     300 Booth Street, Reno, Nevada on July 19, 2019 at 1:00 p.m.
                        11            NOTICE IS FURTHER GIVEN that any opposition must be filed pursuant to the
                        12     time limits set forth in Local Rule 9014 for oppositions to a motion. Local Rule 9014(d)
                        13     provides as follows:
                        14            [A]ny opposition to a motion must be filed with the Clerk of the court, and
                                      service of the opposition must be completed on the movant, no later than
                        15            fourteen (14) days preceding the hearing date for the motion. The opposition
                                      must set forth all relevant facts and any relevant legal authority. An
                        16            opposition must be supported by affidavits or declarations that conform to the
                                      provisions of subsection (c) of this rule.
                        17
                        18     If you do object to the relief requested, you must file a WRITTEN response with the court.
                        19     You must also serve your written response on the person who sent you this notice. A paper
                        20     copy of any response should also be delivered to the Clerk’s office identified as “Copy For
                        21     Chambers” or some similar designation. If you do not file a written response with the court,
                        22     or if you do not serve your written response on the person who sent you this notice, then:
                        23            •       The court may refuse to allow you to speak at the scheduled hearing; and
                        24            •       The court may rule against you without formally calling the matter at the
                        25                    hearing.
                        26     ///
                        27     ///
                        28     ///
    Hartman & Hartman
510 West Plumb Lane, Ste. B
   Reno, Nevada 89509
      (775) 324-2800
                                                                             2
                              Case 14-50333-gs    Doc 498    Entered 06/21/19 13:13:31      Page 3 of 3



                          1          NOTICE IS FINALLY GIVEN that a copy of the Sale Motion can be obtained
                          2    upon request from Hartman & Hartman, 510 West Plumb Lane, Suite B, Reno, Nevada
                          3    89509, or by calling Hartman & Hartman at 1-775-324-2800.
                          4          DATED: June 21, 2019.
                          5                                             HARTMAN & HARTMAN
                          6
                                                                        /S/ Jeffrey L. Hartman
                          7                                             Jeffrey L. Hartman, Esq., for
                                                                        Trustee Jeri Coppa-Knudson
                          8
                          9
                        10
                        11
                        12
                        13
                        14
                        15
                        16
                        17
                        18
                        19
                        20
                        21
                        22
                        23
                        24
                        25
                        26
                        27
                        28
    Hartman & Hartman
510 West Plumb Lane, Ste. B
   Reno, Nevada 89509
      (775) 324-2800
                                                                         3
